
Battle, J.
That one defendant, in a joint judgment against two or more, cannot appeal without his co defenants, has been settled by many decisions in this Court, one of which has been made at this term; Smith and Shuford v. Cunningham. The motion, made in the County Court, to dismiss the appeal of the defendant from that Court, ought therefore to have been granted, but having been refused, could the plaintiffs appeal immediately from the order of refusal,-or, were the}1 bound .to \yait until a final judgment was rendered againt them '! The .question arises upon the act of 1777 (Rev. Slat. Ch, 4 Sec. 1.) which provided,--thaff-.“ when1 qriy'per'son,-either plaintiff or defendant, or who shallbé interested, shall be dissatisfied with the sentence, judgment or decree of any County Court,” he may appeal therefrom to the next Superior *3Court. Were the question an open one, there might be some doubt, whether the sentence, judgment or decree of the County Court, from which the appeal may be taken, is not a final, and not merely an interlocutory, one, but a contrary construction has been put upon the act, and we do not feel at liberty to depart from it. In the case of Hunt v. Crowell, 2 Murph. Rep. 424, it was held by a majority of the Court, that"an appeal might be taken from an interlocutory order of the County Court, granting leave to amend. So in the case of Harvey v. Smith, 1 Dev. &amp; Bat. Rep. 186, it was held, not only to be competent, but the proper course, for a party dissatisfied with thé sentence of the County Court, ordering the reprobate of a will, to appeal at once from such order, without waiting for the final sentence upon such reprobate. But it is not every order, which the County Court may make in the progress of a case, that is the subject of an appeal; Chief Justice Taylor, in delivering his opinion in Hunt v Crowell, admits this, but says that, “ whenever the question presented to the County Court is such, that a judgment upon it one way would put an end the cause, it may be appealed from.” We are disposed to adopt that rule, and it is decisive of the case before us. If the motion, made in the County Court, had been granted, it would have put an end to the case, but, being improperly refused, the plaintiffs had a right immediately to appeal from the order of refusal. That there are some inconveniences, attending the allowing of appeals from interlocutory orders of the County Court, cannot be denied. They are clearly pointed out by Judge Daniel, in the dissenting opinion, which he filed in the case above referred to of Hunt v. Crowell, but they am greatly overweighed by the advantages ol getting a decision of the Superior Court upon a point, which may determine the cause, without putting the parties to the trouble, expense and delay, of waiting for a final judgment, before the appeal is taken. *4It was a sense of such advantages, no doubt, which induced the Legislature, after providing in the act of 1818 (2 Rev. code, Ch. 962 Sec. 4,) that no appeal should be allowed to the Supreme Court, except from the final sentence, judgment or decree of the Superior Court, to modify the law, in relation to such appeals, by giving to the Judges of the Superior Courts, in the act of 1831 (Rev. Stat. Ch. 4 Sec. 23,) the power to grant appeals from interlocutory orders, upon certain terms, whenever they might think proper so to do. Upon the whole, we think, that the judgment of the Superior Court, refusing to dismiss the plaintiff’s appeal and ordering a writ of proce• dendo to issue, directing the County Court to dismiss the defendant’s appeal from that Court, was right and ought to be affirmed.
Per Curiam,
Judgment affirmed.
